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UN|TED STATES OF AN|ERICA,

Plaintiff,

vs. Crimina| No. 05-209£88-Ma

W|LL|AM BERRY MORR!S, *

Defendant. *

 

CONSENT ORDER REGARDING D|SCLOSURE
AND USE OF MATER|ALS PROVIDED
PURSUANT TO D|SCOVERY

 

By consent of Counsei for the defendant herein and the Government, the Court
concludes that an order should be entered in this cause governing access to certain
discovery materials that are alleged to be contraband (chi|d pornography). Counsel forthe
defendant herein and any active member of the defense team (investigator, computer
specialist, expert) vvho1 in his/her official capacity as such member, has a need to obtain
a copy of such material is authorized to do so, but only in complete accordance with the
following requirements of the Court:

1. Any copy made of the discovery material Wi|| be used solely for litigation

purposes in the instant matter, and Will only be disclosed to a member ofthe

defense team assisting defense counsel herein, as necessaryl

2. A|i such material (and any copy thereof) Wil| be maintained in a secure
location at all times to prevent access by any unauthorized individua|.

this document entered on the docket sheet' in compliance
vvlth Rule 55 and/or 32(b ) FFiCrP on ` f ' 5 l

 

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By receipt of any such material, Counsel for the defendant herein
acknowledges that he/she is aware of the protections afforded potential
victims / Witnesses pursuant to Title 18, United States Code, Section 3509,
and will not disclose the name of or identity of any alleged witness /victim to
anyone other than the defense team. l\/loreover, disclosure of a victim or
witness's identity to the defense team will only be made if necessary for
preparation of the defense herein.

Following final disposition of this matter, in the District Court, ali such material
(and any copy thereof) shall be promptly returned to the United States to be
disposed of in accordance with the law.

Following final disposition of this matter, in the District Court, Counsel forthe
defendant shall confirm to the United States, in writing, that each of the
foregoing requirements of the Court have been fully met and that all such
material (and any copy thereof) has been returned to the custody of the
United States.

it is so oRDERED this "Q'L day or F"‘"""* , 2005.

APPROVE I'

1

   

(Co\unse| for

 

M%

SAMUEL H. MAYS, JR.
United States District Judge

 

= Defendant

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Zl@; §/f@% /
DAN L.NEWSON|

Senior Litigation Counsel

DISTRIC COURT - ESTERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
ease 2:05-CR-20088 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

